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   Attorneys for Plaintiff
 7 United States of America

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 9                                  IN THE UNITED STATES DISTRICT COURT

10                                     EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                             CASE NO. 1:16-CR-00069-NONE
12
                                     Plaintiff,            STIPULATION AND ORDER REGARDING
13                                                         BRIEFING SCHEDULE ON DEFENDANT’S
                               v.                          MOTION FOR REDUCTION IN SENTENCE AND
14                                                         COMPASSIONATE RELEASE
     WILLIAM LEE,
15
                                    Defendant.
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17
                                                       STIPULATION
18
            1.         Defendant William Lee filed a motion for reduction in sentence and compassionate
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     release on August 19, 2020. Docket No. 885. On August 24, 2020, the Court granted the parties’s
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     stipulation to allow the government until September 11, 2020 to respond to the motion. Docket No. 889.
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            2.         Government counsel needs one additional week to obtain additional records and draft the
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     response brief.
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            3.         Counsel for the defendant does not oppose this request.
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          Case 1:16-cr-00069-AWI-SKO Document 891 Filed 09/11/20 Page 2 of 2



 1         4. Accordingly, by this stipulation, the parties now request that:

 2                 a)     The government’s opposition or response to defendant’s motion, Docket No. 885,

 3 be due on September 18, 2020; and

 4                 b)     The defense reply, if any, will be due on September 25, 2020.

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 6         IT IS SO STIPULATED.

 7
                                                         McGREGOR W. SCOTT
 8                                                       United States Attorney
 9   Dated: September 10, 2020
                                                         /s/ Jeffrey A. Spivak
10                                                       JEFFREY A. SPIVAK
                                                         Assistant United States Attorney
11

12
     Dated: September 10, 2020                           /s/ Barbara O’Neill
13                                                       BARBARA O’NEILL
                                                         Counsel for Defendant
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16                                                  ORDER
17         Pursuant to the stipulation of the parties, the government’s opposition or response to defendant’s
18 motion is due on September 18, 2020. The defense reply, if any, will be due on September 25, 2020.

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     IT IS SO ORDERED.
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        Dated:    September 11, 2020
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                                                     UNITED STATES DISTRICT JUDGE
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